Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 1 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 2 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 3 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 4 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 5 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 6 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 7 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 8 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 9 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 10 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 11 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 12 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 13 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 14 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 15 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 16 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 17 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 18 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 19 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 20 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 21 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 22 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 23 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 24 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 25 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 26 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 27 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 28 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 29 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 30 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 31 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 32 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 33 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 34 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 35 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 36 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 37 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 38 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 39 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 40 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 41 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 42 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 43 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 44 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 45 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 46 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 47 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 48 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 49 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 50 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 51 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 52 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 53 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 54 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 55 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 56 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 57 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 58 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 59 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 60 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 61 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 62 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 63 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 64 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 65 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 66 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 67 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 68 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 69 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 70 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 71 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 72 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 73 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 74 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 75 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 76 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 77 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 78 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 79 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 80 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 81 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 82 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 83 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 84 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 85 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 86 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 87 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 88 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 89 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 90 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 91 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 92 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 93 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 94 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 95 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 96 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 97 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 98 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 99 of 127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 100 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 101 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 102 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 103 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 104 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 105 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 106 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 107 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 108 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 109 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 110 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 111 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 112 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 113 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 114 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 115 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 116 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 117 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 118 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 119 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 120 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 121 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 122 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 123 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 124 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 125 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 126 of
                                     127
Case 1:19-cv-20903-FAM Document 1-2 Entered on FLSD Docket 03/08/2019 Page 127 of
                                     127
